          Case 1:22-cr-00116-CJN Document 32-1 Filed 02/14/23 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       CASE NO. 22-cr-116 (CJN)
                v.                            :
                                              :
DAVID JOSEPH GIETZEN,                         :
                                              :
                       Defendant.             :

                                             ORDER

         Based upon the representations in the Unopposed Motion To Continue Status Hearing and

to Exclude Time Under the Speedy Trial Act, and upon consideration of the entire record, it is

hereby

         ORDERED that the Motion is GRANTED; it is further

         ORDERED that the currently scheduled status hearing on February 17, 2023 be continued

for good cause to April 18, 2023, at ____a.m./p.m.; and it is further

         ORDERED that the time between February 17, 2023 and April 18, 2023 shall be excluded

from calculation under the Speedy Trial Act, see 18 U.S.C. § 3161(h)(7)(A). The Court finds that

the ends of justice served by the granting of such a continuance outweighs the best interests of the

public and the defendant in a speedy trial, as a continuance will provide the parties additional time

to continue negotiating a potential pretrial resolution, and additional time to review discovery.




                                      ___________________________________________
                                      THE HONORABLE CARL J. NICHOLS
                                      UNITED STATES DISTRICT JUDGE
